      Case 3:06-cr-05058-RBL          Document 42        Filed 05/24/06      Page 1 of 2



 1
 2
 3
 4
 5
 6
 7
 8                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 9                                      AT TACOMA
10
11       UNITED STATES OF AMERICA,
12                                                            CASE NO.CR06-5058RBL
                               Plaintiff,
13
                v.                                              ORDER GRANTING
14                                                              CONTINUANCE OF
15       FLENARD TYRONE NEAL, JR.,                              TRIAL DATE
         DONALD JAMAR LEWIS,
16
         FELIX ADEOKUN
17
18                             Defendant.
19
           An Agreed Order to Continue the Trial has been filed by the parties.
20
           The Court has reviewed the pleadings and for the reasons stated, the parties Joint Motion to
21
           Continue the Trial Date is GRANTED
22
23
           In view of the foregoing, the court finds and rules as follows:
24
           1. Failure to grant a continuance in this matter would deny the defense the reasonable time
25
           necessary for effective preparation taking into account the exercise of due diligence. Title 18
26
           U.S.C. §3161(h)(8)(B)(iv).
27
           2. The ends of justice served by granting the requested continuance outweigh the interest of the
28
           public and the defendant in a speedy trial. Title 18 U.S.C. §3161(h)(8)(A). The period of delay
           resulting from this continuance from MAY 30, 2006 to OCTOBER 10, 2006 is excluded for
           speedy trial computation purposes under 18 U.S.C. § 3161(h)(8)(A) and (B) as this is a
           reasonable period of delay.

     ORDER -1
      Case 3:06-cr-05058-RBL        Document 42       Filed 05/24/06   Page 2 of 2



 1
 2
           ACCORDINGLY:
 3
           The Jury Trial is CONTINUED to OCTOBER 10, 2006 at 9:00 a.m.
 4
           No Pretrial Conference is scheduled.
 5
           The Motions Cutoff date is extended to JULY 17, 2006.
 6
 7
 8
           IT IS SO ORDERED this 24TH day of May, 2006.


                                                  A
 9
10
11                                                RONALD B. LEIGHTON
                                                  UNITED STATES DISTRICT JUDGE
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28




     ORDER -2
